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IN THE UNITED sTATEs DISTRICT COURW$J JU §/DC
FOR THE WESTERN DlsTRICT oF TENNESSEE 5 la 433
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JIMMIE HILL and BARBARA HILL, FJMC
Plaintiffs,

VS. No. 1-04-1151-T-An

JAMES BOWLES, CHIEF OF POLICE
OF GIBSON, TENNESSEE, et al.,

Defendants.

 

ORDER DENYING DEFENDANTS’ MOTION TO DISMISS, AND/OR lN THE
ALTERNATIVE, A MOTION FOR SUMMARY JUDGMENT
AND
ORDER REQUIRING PLAINTIFFS TO FILE AN AMENDED COMPLAINT

 

Plaintiffs Jimmie and Barbara Hill brought suit in the Circuit Court of Gibson
County, Tennessee, against Defendants J ames Bowles, Gibson Chief of Police, Wallace
Keymon, Mayor of Gibson, and the Town ofGibson, Tennessee. Defendants removed the
action to district court, arguing that Plaintiffs ’ claims appeared to be brought pursuant to 42
U.S.C. § 1983 because their complaint alleged action under color of law and retaliation and
sought attorneys fees as Well as a jury trial.

Defendants filed a motion to dismiss pursuant to FED. R. CIV. P. 12(b)(6), and/or in
the alternative, a motion for summary judgment under FED. R. CIV. P. 56(0). Plaintiffs

responded; however, they did not address Whether their claims Were brought pursuant to §

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1983. Consequently, the court ordered the parties to file supplemental briefs on the issue
of subject matter jurisdiction Plaintiffs filed a supplemental brief and stated that they were
raising, among other things, a claim under § 1983. However, this brief was inadequate
because it did not specifically state the constitutional violation alleged Further, Plaintiffs’
complaint is inadequate because it does not state the constitutional violation alleged and it
fails to state the basis of Plaintiffs’ retaliation claim. On the face of the complaint, it is not
clear what Plaintiffs’ actions were that prompted the alleged retaliation As a result,
Plaintiffs are ordered to file an amended complaint clearly stating the constitutional basis
and the facts that support each element of the § 1983 claim. In addition, Plaintiffs are
ordered to restate the remainder of their claims in a clear, concise fashion with specific
allegations supporting each of their claims. P]aintiffs have twenty (20) days to file an
amended complaint and Defendants have twenty (20) days to respond. Defendants’ motion
to dismiss and/or motion for summary judgment is DENIED without prejudice to refiling
after the filing of an amended complaint by Plaintiffs.

IT IS SO ORDERED.

JAME :D.' TODD
UNIT D sTATEs DrsTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 1:04-CV-01151 was distributed by faX, mail, or direct printing on
.luly 20, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

